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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
ARLENE DOREGO,           *                           No. 14-337 V
                         *
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: July 13, 2015
                         *
SECRETARY OF HEALTH      *                          Stipulation; measles-mumps-rubella
AND HUMAN SERVICES,      *                          (“MMR”) vaccine; idiopathic
                         *                          thrombocytopenia purpura (“ITP”);
             Respondent. *                          chronic musculoskeletal pain.
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Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner;
Julia McInerny, United States Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On July 10, 2015, respondent filed a joint stipulation concerning the petition
for compensation filed by Arlene Dorego on April 23, 2014. In her petition, Ms.
Dorego alleged that the measles-mumps-rubella (“MMR”) vaccine, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and
which she received on July 2, 2011, caused her to suffer idiopathic
thrombocytopenia purpura (“ITP”) and chronic musculoskeletal pain. Petitioner
further alleges that she experienced the residual effects of these injuries for more
than six months. Petitioner represents that there has been no prior award or
settlement of a civil action for damages as a result of her condition.

       Respondent denies that petitioner suffered ITP, chronic musculoskeletal pain
or any other injury as the result of her July 2, 2011 MMR vaccination, and denies
that she experienced the residual effects of this injury for more than six months.


       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $50,000.00 in the form of a check payable to petitioner,
        Arlene Dorego. This amount represents compensation for all damages
        that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-337V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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